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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                  4:12MJ3073
      vs.
                                                           DETENTION ORDER
EUSEBIA BUENO,
                     Defendant.



       Pending the detention hearing in this case scheduled for November 1, 2012,

       IT IS ORDERED:

       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.

       October 30, 2012.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
